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                     DECLARATION OF MR. TRAVIS SPEEGLE

  1. My name is Travis Speegle. I reside in Austin, Texas.

  2. I am a member of the National Association for Gun Rights, Inc.

  3. I am also a member of Texas Gun Rights.




  Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the foregoing is

  true and correct to the best of my knowledge and belief.



  Executed on September 22, 2023.


  By:        /s/    Travis Speegle______________
                    Mr. Travis Speegle




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